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 6    Attorneys for Plaintiff Matt Salnick
 7
                                    UNITED STATES DISTRICT COURT
 8

 9                                CENTRAL DISTRICT OF CALIFORNIA
10        MATT SALNICK,                                             Case No. 2:17-CV-00359-CBM-JC
11                                                                  NOTICE OF SIGNED PROPOSED
                                  Plaintiff,                        CONSENT DECREE AND 45-DAY
12                                                                  FEDERAL AGENCY REVIEW
                  vs.                                               PERIOD
13
                                                                    Complaint Filed: January 17, 2017
14        AMERON POLE PRODUCTS, LLC,
15                                Defendant.
16

17             PLEASE TAKE NOTICE that pursuant to Local Rule 40-2 the parties have
18    reached a settlement resolving all claims in this action. The settlement is contingent
19    upon the expiration of the federal agency 45-day review period.1
20             PLEASE TAKE FURTHER NOTICE that, in accordance with federal law,
21    no judgment disposing of this action may be entered prior to 45 days following the
22    receipt of the proposed consent decree by the United States Department of Justice
23    and the national and Region IX offices of the United States Environmental
24    Protection Agency. See 40 C.F.R. § 135.5 (requiring the parties to provide notice to
25    the court of the 45-day review period under 33 U.S.C. § 1365(c)). Such notice was
26
27    1
       Title 33 of the United States Code, Section 1365(c) provides that “[n]o consent judgment shall be entered in an
      action in which the United States is not a party prior to 45 days following the receipt of a copy of the proposed
28    consent judgment by the Attorney General and the Administrator.”
                                                              -1-
           NOTICE OF SIGNED PROPOSED CONSETN DECREE AND 45-DAY FEDERAL AGENCY REVIEW
                                             PERIOD
     Case 2:17-cv-00359-CBM-JC Document 47 Filed 12/20/18 Page 2 of 2 Page ID #:183



 1    mailed by certified mail return receipt requested to the agencies on December 10,
 2    2018. The Department of Justice has advised the parties that they received the
 3    proposed consent decree on December 19, 2018, and has requested the parties advise
 4    the Court that it is the DOJ’s position that it has until January 28, 2019 to review the
 5    proposed consent decree. If any of the reviewing agencies object to the proposed
 6    agreement, the parties would require additional time to meet and confer and attempt
 7    to resolve the agencies’ concerns. Should there be no objection, within 7 days after
 8    the 45-day expiration period the parties intend to submit a stipulation to the entry of
 9    the consent judgment for the Court’s consideration.
10          Should the Court require any additional information, the undersigned will
11    provide it upon request.
12
      Dated: December 20, 2018                        Respectfully Submitted,
13

14
                                                      BRODSKY & SMITH, LLC

15                                                    By:s/ Evan J. Smith, Esquire
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21

22                                                    Attorneys for Plaintiff

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         NOTICE OF SIGNED PROPOSED CONSETN DECREE AND 45-DAY FEDERAL AGENCY REVIEW
                                           PERIOD
